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 1   Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
     MANNING LAW, APC
 2   20062 SW Birch Street, Ste. 200
 3   Newport Beach, CA 92660
     Office: (949) 200-8755
 4   DisabilityRights@manninglawoffice.com
 5

 6   Attorney for Plaintiff: JAMES SHAYLER
 7

 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES SHAYLER, an individual,
12                                            Complaint For Damages And
13                    Plaintiff,              Injunctive Relief For:

14   v.                                       1. VIOLATIONS OF THE
15                                               AMERICANS WITH DISABILITIES
                                                 ACT OF 1990, 42 U.S.C. §12181 et
16   FOOTGOULD I, LLC, a California              seq. as amended by the ADA
     limited liability company; and DOES         Amendments Act of 2008 (P.L. 110-
17
     1-10, inclusive,                            325).
18

19                   Defendants.              2. VIOLATIONS OF THE UNRUH
                                                 CIVIL RIGHTS ACT, CALIFORNIA
20                                               CIVIL CODE § 51 et seq.
21

22         Plaintiff, JAMES SHAYLER (“Plaintiff”), complains of Defendant
23   FOOTGOULD I, LLC, a California limited liability company; and Does 1-10
24   (“Defendants”) and alleges as follows:
25                                         PARTIES
26         1.     Plaintiff’s musculoskeletal, neurological and cardiovascular systems are
27   impaired. As a result of these impairments Plaintiff is substantially limited in
28   performing one or more major life activities, including but not limited to: walking,

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 1   standing, and ambulating. As a result of his impairments, Plaintiff often relies upon
 2   mobility devices to ambulate. With such disabilities, Plaintiff qualifies as a member
 3   of a protected class under the Americans with Disabilities Act, 42 U.S.C. §12102(2)
 4   as amended by the ADA Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the
 5   regulations implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the
 6   time of Plaintiff’s visits to Defendants’ facility and prior to instituting this action,
 7   Plaintiff suffered from a “qualified disability” under the ADA, including those set
 8   forth in this paragraph. Plaintiff is also the holder of a Disabled Person Parking
 9   Placard.
10         2.     Plaintiff is informed and believes and thereon alleges that Defendant
11   FOOTGOULD I, LLC, a California limited liability company, owned the property
12   located at 504 Foothill Blvd., La Canada, CA 91011 (“Property”) on or around
13   March 5, 2021 upon which Golden Donut Place (“Business”) is located.
14         3.     Plaintiff is informed and believes and thereon alleges that Defendant
15   FOOTGOULD I, LLC, a California limited liability company, currently owns the
16   Property.
17         4.     The Business is a restaurant open to the public, which is a “place of
18   public accommodation” as that term is defined by 42 U.S.C. § 12181(7).
19         5.     Plaintiff does not know the true name of DOE Defendants, that may be
20   related to the Business and/or Property. Plaintiff is informed and believes that each
21   of the Defendants herein, including Does 1 through 10, inclusive, is responsible in
22   some capacity for the events herein alleged. Plaintiff will seek leave to amend when
23   the true names, capacities, connections, and responsibilities of the Defendants and
24   Does 1 through 10, inclusive, are ascertained.
25                              JURISDICTION AND VENUE
26         6.     This Court has subject matter jurisdiction over this action pursuant
27   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
28         7.     This court has supplemental jurisdiction over Plaintiff’s non-federal
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 1   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 2   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 3   federal ADA claims in that they have the same nucleus of operative facts and
 4   arising out of the same transactions, they form part of the same case or controversy
 5   under Article III of the United States Constitution.
 6          8.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 7   real property which is the subject of this action is located in this district and because
 8   Plaintiff's causes of action arose in this district.
 9                                 FACTUAL ALLEGATIONS
10          9.     Plaintiff went to the Business on or about March 5, 2021 for the dual
11   purpose of purchasing a donut and to confirm that this public place of
12   accommodation is accessible to persons with disabilities within the meaning federal
13   and state law.
14          10.    Unfortunately, although parking spaces were one of the facilities
15   reserved for patrons, there were no designated parking spaces available for persons
16   with disabilities that complied with the 2010 Americans with Disabilities Act
17   Accessibility Guidelines (“ADAAG”) on March 5, 2021.
18          11.    At that time, instead of having architectural barrier free facilities for
19   patrons with disabilities, Defendants’ facility has barriers that include but are not
20   limited to: an accessible parking area whose slope exceeds ADAAG specifications
21   (Section 502.4).
22          12.    Due to architectural barriers in violation of the ADA and ADAAG
23   specifications, the parking, paths of travel, and demarcated accessible spaces at the
24   Property, are inaccessible.
25          13.    Parking spaces are one of the facilities, privileges, and advantages
26   reserved by Defendants to persons at the Property serving the Business.
27          14.    Because Defendant FOOTGOULD I, LLC, a California limited liability
28   company, owns the Property, which is a place of public accommodation, they are
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 1   responsible for the violations of the ADA that exist in the parking area and
 2   accessible routes that connect to the facility’s entrance that serve customers to the
 3   Business.
 4         15.    Subject to the reservation of rights to assert further violations of law
 5   after a site inspection found infra, Plaintiff asserts there are additional ADA
 6   violations which affect him personally.
 7         16.    Plaintiff is informed and believes and thereon alleges Defendants had
 8   no policy or plan in place to make sure that there was compliant accessible parking
 9   reserved for persons with disabilities prior to March 5, 2021.
10         17.    Plaintiff is informed and believes and thereon alleges Defendants have
11   no policy or plan in place to make sure that the designated disabled parking for
12   persons with disabilities comport with the ADAAG.
13         18.    Plaintiff personally encountered these barriers. The presence of these
14   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
15   conditions at public place of accommodation and invades legally cognizable
16   interests created under the ADA.
17         19.    The conditions identified supra are necessarily related to Plaintiff’s
18   legally recognized disability in that Plaintiff is substantially limited in the major life
19   activities of walking, standing, and ambulating; Plaintiff is the holder of a disabled
20   parking placard; and because the enumerated conditions relate to the use of the
21   accessible parking, relate to the slope and condition of the accessible parking and
22   accessible path to the accessible entrance, and relate to the proximity of the
23   accessible parking to the accessible entrance.
24         20.    As an individual with a mobility disability who relies upon a walker or
25   other mobility devices, Plaintiff has a keen interest in whether public
26   accommodations have architectural barriers that impede full accessibility to those
27   accommodations by individuals with mobility impairments.
28         21.    Plaintiff is being deterred from patronizing the Business and its
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 1   accommodations on particular occasions, but intends to return to the Business for the
 2   dual purpose of availing himself of the goods and services offered to the public and
 3   to ensure that the Business ceases evading its responsibilities under federal and state
 4   law.
 5          22.      Upon being informed that the public place of accommodation has
 6   become fully and equally accessible, he will return within 45 days as a “tester” for
 7   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
 8   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
 9          23.      As a result of his difficulty experienced because of the inaccessible
10   condition of the facilities of the Business, Plaintiff was denied full and equal access
11   to the Business and Property.
12          24.      The Defendants have failed to maintain in working and useable
13   conditions those features required to provide ready access to persons with
14   disabilities.
15          25.      The U.S. Department of Justice has emphasized the importance of
16   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
17   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
18   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
19   Coronavirus Disease 2019 (COVID-19) found at
20   https://www.ada.gov/aag_covid_statement.pdf.
21          26.      The violations identified above are easily removed without much
22   difficulty or expense. They are the types of barriers identified by the Department of
23   Justice as presumably readily achievable to remove and, in fact, these barriers are
24   readily achievable to remove. Moreover, there are numerous alternative
25   accommodations that could be made to provide a greater level of access if complete
26   removal were not achievable.
27          27.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
28   alleges, on information and belief, that there are other violations and barriers in the
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 1   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
 2   notice regarding the scope of this lawsuit, once he conducts a site inspection.
 3   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
 4   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
 5   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
 6   have all barriers that relate to his disability removed regardless of whether he
 7   personally encountered them).
 8         28.    Without injunctive relief, Plaintiff will continue to be unable to fully
 9   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
10                               FIRST CAUSE OF ACTION
11   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
12     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
13                                        (P.L. 110-325)
14         29.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
15   above and each and every other paragraph in this Complaint necessary or helpful to
16   state this cause of action as though fully set forth herein.
17         30.    Under the ADA, it is an act of discrimination to fail to ensure that the
18   privileges, advantages, accommodations, facilities, goods, and services of any place
19   of public accommodation are offered on a full and equal basis by anyone who owns,
20   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
21   Discrimination is defined, inter alia, as follows:
22                a.     A failure to make reasonable modifications in policies, practices,
23                       or procedures, when such modifications are necessary to afford
24                       goods, services, facilities, privileges, advantages, or
25                       accommodations to individuals with disabilities, unless the
26                       accommodation would work a fundamental alteration of those
27                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
28                b.     A failure to remove architectural barriers where such removal is
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 1                         readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 2                         defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 3                         Appendix "D".
 4                   c.    A failure to make alterations in such a manner that, to the
 5                         maximum extent feasible, the altered portions of the facility are
 6                         readily accessible to and usable by individuals with disabilities,
 7                         including individuals who use mobility devices, or to ensure that,
 8                         to the maximum extent feasible, the path of travel to the altered
 9                         area and the bathrooms, telephones, and drinking fountains
10                         serving the area, are readily accessible to and usable by
11                         individuals with disabilities. 42 U.S.C. § 12183(a)(2).
12         31.       Any business that provides parking spaces must provide accessible
13   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
14   shall be at the same level as the parking spaces they serve. Changes in level are not
15   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
16   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
17   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
18   designated disabled parking space is a violation of the law and excess slope angle in
19   the access pathway is a violation of the law.
20         32.       A public accommodation must maintain in operable working condition
21   those features of its facilities and equipment that are required to be readily accessible
22   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
23         33.       Here, the failure to ensure that accessible facilities were available and
24   ready to be used by Plaintiff is a violation of law.
25         34.       Given its location and options, Plaintiff will continue to desire to
26   patronize the Business but he has been and will continue to be discriminated against
27   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
28   the barriers.
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 1                              SECOND CAUSE OF ACTION
 2       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
 3         35.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 4   above and each and every other paragraph in this Complaint necessary or helpful to
 5   state this cause of action as though fully set forth herein.
 6         36.    California Civil Code § 51 et seq. guarantees equal access for people
 7   with disabilities to the accommodations, advantages, facilities, privileges, and
 8   services of all business establishments of any kind whatsoever. Defendants are
 9   systematically violating the UCRA, Civil Code § 51 et seq.
10         37.    Because Defendants violate Plaintiff’s rights under the ADA,
11   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
12   52(a).) These violations are ongoing.
13         38.    Plaintiff is informed and believes and thereon alleges that Defendants’
14   actions constitute discrimination against Plaintiff on the basis of a disability, in
15   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
16   previously put on actual or constructive notice that the Business is inaccessible to
17   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
18   inaccessible form, and Defendants have failed to take actions to correct these
19   barriers.
20                                          PRAYER
21   WHEREFORE, Plaintiff prays that this court award damages provide relief as
22   follows:
23         1.     A preliminary and permanent injunction enjoining Defendants from
24   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
25   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
26   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
27   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
28   under the Disabled Persons Act (Cal. C.C. §54) at all.
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 1         2.     An award of actual damages and statutory damages of not less than
 2   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
 3         3.     An additional award of $4,000.00 as deterrence damages for each
 4   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 5   LEXIS 150740 (USDC Cal, E.D. 2016); and,
 6         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 7   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
 8

 9                               DEMAND FOR JURY TRIAL
10         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
11   raised in this Complaint.
12

13   Dated: March 24, 2021            MANNING LAW, APC
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15                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
16                                       Attorney for Plaintiff
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